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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                           Case No. 8:20-cv-2184-MSS-SPF

 MELANIE MOORE

       Plaintiff,
 v.

 POOCHES OF LARGO, INC. &
 LUIS MARQUEZ,

       Defendants.
 _________________________________________/

         DEFENDANTS’ MOTION FOR A FIVE-DAY EXTENSION OF TIME
          TO FILE THEIR MOTION FOR FINAL SUMMARY JUDGMENT

       Pursuant to Local Rule 3.01, Defendants Pooches of Largo, Inc. & Luis Marquez

 hereby file their Motion for a Five-Day Extension of Time to File their Motion for Final

 Summary Judgment.

       1. Defendants’ summary judgment motion is due on Friday, April 7, 2023. The

           motion is nearly complete, but between Passover and Good Friday, the

           Defendants are having difficulty obtaining affidavits and client approval, etc.

       2. Defendants request a five-day extension until Wednesday, April 12, 2023. This

           request is made in good faith and not for purposes of delay.

       For the reasons stated above, Defendants request an order setting a April 12, 2023

 deadline to file its case-dispositive motion for final summary judgment.

                                   Respectfully submitted,

                                  /s/ Matthew Sarelson
                                  Matthew Seth Sarelson, Esq.
                                  DHILLON LAW GROUP, INC.

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                          CERTIFICATE OF CONFERRAL

        Pursuant to Local Rule 3.01(g), I emailed Ms. Moore on April 7, 2023 but, not
 surprisingly, I have not heard back. Ms. Moore generally responded to emails at or
 around midnight, so I do not anticipate a timely response.

                                                   /s/ Matthew Sarelson
                                                   Matthew Sarelson, Esq.




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